      Case 2:19-cv-02700-DDC-KGG Document 9 Filed 04/07/20 Page 1 of 3




                   IN THE UNITED STATES DISTRICT COURT
                        FOR THE DISTRICT OF KANSAS

BEVERLY J. FORTEAU-MCKAIG,             )
    Plaintiff,                         )
                                       )
v.                                     )                Case No.: 2:19-cv-02700
                                       )
OXFORD MANAGEMENT GROUP, LLC           )
      Defendant.                       )
_______________________________________)

                PARTIES’ JOINT STATUS REPORT REGARDING
                          ORDER TO SHOW CAUSE

       The parties, by and through their counsel of record, and pursuant to this Court’s

February 7, 2020, Order (Doc. 7), jointly submit this Status Report regarding their efforts

to resolve this matter without further litigation and their agreement to extend Defendant’s

Answer date to April 24, 2020.

       1.     The parties were preparing for a face-to-face on-site mediation to be held in

Kansas City, Missouri on March 31, 2020, when Kansas City metropolitan area

governmental units issued various stay-at-home order related to community transmission

concerns of the pandemic COVID-19 spread. Shortly thereafter, Wichita, Kansas,

governmental units issued similar orders as did the State of Kansas.

       2.     The parties worked with their selected mediator and agreed to engage in

mediation via Zoom teleconferencing on March 31, 2020, so that no one had to travel and

potentially violate governmental directives or safety concerns.

       3.     On March 30, 2020. Chris Dennis, Defendant’s President and the individual

                                            -1-
      Case 2:19-cv-02700-DDC-KGG Document 9 Filed 04/07/20 Page 2 of 3




designated with settlement authority, notified his counsel of a COVID-19 outbreak at

Defendant’s facility in McKinney, Texas, and that he was leaving town to address the

emergency. Defendant’s business is engaged in the multi-state ownership and

management of health care facilities, including independent living, assisted living, and

memory care. Two employees, an employee’s baby, and three residents in McKinney

contracted COVID-19. Defendant’s counsel immediately notified Plaintiff’s counsel and

the mediator.

       4.       Defense counsel sought a continuation of the parties’ private tolling

agreement which Plaintiff declined. However, Plaintiff’s counsel agreed to extend

Defendant’s Answer deadline to April 24, 2020, beyond the April 1, 2020 deadline

contemplated in the parties’ tolling agreement.

       5.       Defendant’s counsel entered her appearance in this matter on April 1, 2020.

       6.       Mr. Dennis remains in McKinney, Texas, and believes he will not return to

Kansas until the week of April 20, 2020. Roughly 25% of Defendant’s McKinney staff

has resigned due to COVID-19 fears, and one of the residents has since died.

       7.       Defendant’s counsel informed Plaintiff’s counsel that Mr. Dennis would

need to continue in Texas and devote his time to disaster management as indicated above.

Two of Defendant’s other senior officers have now also traveled to McKinney to address

the COVID-19 issues.

       8.       The parties agree that Defendant shall file its Answer in this matter no later



                                              -2-
      Case 2:19-cv-02700-DDC-KGG Document 9 Filed 04/07/20 Page 3 of 3




than April 24, 2020.

       WHEREFORE, based on the above, the parties jointly request the Court enter an

Order continuing its stay order until April 25, 2020, and directing Defendant to file its

Answer no later than April 24, 2020.

                                           Respectfully submitted,

                                           /s/Kari S. Schmidt
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                              CERTIFICATE OF SERVICE

       I hereby certify that a true and correct copy of the above Parties’ Joint Status
Report was filed and served electronically pursuant to the CM/ECF system on April 7,
2020, on all counsel of record.

                                                   S/Kari S. Schmidt


                                             -3-
